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Prob 19
(1/82)


                                            United States District Court
                                                      for the
                                          Eastern District of Pennsylvania


U.S.A. vs Peter Edward Aleszczyk                                                        Case No. 2:09CR00346-01

TO: 1Any United States Marshal or any other authorized officer.


                    WARRANT FOR ARREST OF PROBATIONER/SUPERVISED RELEASEE

             You are hereby commanded to arrest the within-named defendant and bring him or her, forthwith
             before the United States District Court to answer charges that he or she violated the conditions of
             his or her supervision imposed by the court.

  NAME OF SUBJECT                                                                            SEX             RACE                 AGE
  Peter Edward Aleszczyk                                                                     Male            White/                50
                                                                                                             Non-
                                                                                                             Hispanic

  ADDRESS(STREET, CITY, STATE)
  113 Piedmont Road, West Chester, PA 19382

  PROBATION IMPOSED BY (NAME OF COURT)                                                       DATE IMPOSED
  U.S. District Court Eastern District of Pennsylvania                                       March 19, 2010

  TO BE BROUGHT BEFORE (NAME OF COURT, CITY, STATE)
  U.S. District Court Eastern District of Pennsylvania

  CLERK                                                (BY) DE~ ,CLERK                                       DATE {
  Michael Kunz                                                        I,, t?<                                       \J. It#\ 1(
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                                                                      I I
                                                                           v
                                                                 RETURN

  Warrant received and executed                  DA TE RECEIVED                                  DAT~XECUTED
                                                                                                   /2-     JD   I 2..-.p 1.r
 EXECUTING AGENCY (NAME AND ADDRESS)

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 NAME                                            (BY)                                            DATE

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             Insert designation of officer to whom the warrant is issued, e.g., "any United States Marshal or any other authorized officer;" or
"United States Marshal for the Eastern District of Pennsylvania;" or "any United States Marshal; or "Any Special Agent of the Federal Bureau of
Investigation;" or "any United States Marshal or any Special Agent of the Federal Bureau oflnvestigation;" or "any agent of the Alcohol Tax
Unit."

NOTE: The U.S. Attorney and counsel ofrecord have been notified of the issuance ofa warrant.
